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Attorneys for Plaintiff AVEAN EDWARDS, individually and as a Personal

Representative of Earl Lee Johnson

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

AVEAN EDWARDS, individually and
as a Personal Representative of Earl
Lee Johnson,

Plaintiff,

vs.

COUNTY OF LOS ANGELES; LOS
ANGELES COUNTY  SHERIFF’S
DEPARTMENT; SHERIFF LEROY!
BACA, and DOES 1 through 50,

Case No. 2:15-CV-2553

PLAINTIFE’S COMPLAINT FOR
DAMAGES

1. Violation of Federal Civil Rights
[42 USC §§1983, 1985, 1986, 1988]

2. Violation of Federal Civil Rights:
Monell Claim [42 USC §§1983,
1985, 1986, 1988]

 

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inclusive,

 

Defendants.

 

DEMAND FOR JURY TRIAL

 

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COMES NOW, Plaintiff AVEAN EDWARDS, individually and as a
Personal Representative of Earl Lee Johnson, who hereby alleges the following
allegations and facts in support of their Complaint against all Defendants, and who
hereby demands a speedy jury trial on all causes of action stated against the named
Defendants herein as follows:

PARTIES

1. Plaintiff, AVEAN EDWARDS is surviving parent of Decedent EARL
LEE JOHNSON, and all times mentioned herein was an individual residing in Los
Angeles County, State of California. AVEAN EDWARDS, individually, is an
‘heir at law’ of Decedent EARL LEE JOHNSON, as that term is defined by the
California Code of Civil Procedure Section 377.60(a) and elsewhere and has legal
standing to maintain an action for wrongful death based upon the death of her son,
EARL LEE JOHNSON (“Decedent”), under California Code of Civil Procedure
Section 377.60. Plaintiff AVEAN EDWARDS (“Plaintiff”) may maintain causes
of action under 42 U.S.C. §1983, and violation of California Civil Code §§51.7, 52
and 52.1.

2.  Atall times mentioned herein Defendant COUNTY OF LOS
ANGELES was and is a public entity and municipal corporation, duly organized
and existing under and by virtue of the laws of the State of California.

3. Plaintiff is informed and believes and thereupon alleges, that at all
times relevant herein Defendants SHERIFF LEROY BACA and Does 1-100 were
residents of the County of Los Angeles, State of California, and were deputy

 

 

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sheriffs, sergeants, captains, lieutenants, commanders and supervisors, and/or
civilian employee agents, policy makers and representatives of the Los Angeles
County Sheriff's Department, as well as employees, agents and representatives of

Defendant County of Los Angeles at the time of this incident.

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4, At all times relevant herein Defendants, SHERIFF LEROY BACA
and Does 1-100, inclusive, and each of them, were acting under the color of law, to
wit, under the color of the statutes, ordinances, regulations, policies, customs,
practices and usages of defendant County of Los Angeles, its police department,
and the State of California.

5. At all times mentioned herein Defendant LOS ANGELES COUNTY
SHERIFF’S DEPARTMENT was and is a public entity and an organization of
unknown entity, duly organized and existing under and by virtue of the laws of the
State of California.

6.  Plaintiffis informed and believes, and thereupon alleges that at all
times relevant herein, Doe defendants 1 through 10, inclusive, were supervisors
and policy makers for the County of Los Angeles.

7. The Plaintiff sues the fictitious Defendants DOES 1 through 100,
inclusive pursuant to the California Code of Civil Procedures, Section 474, because
their true names and/or capacities and/or other facts showing them liable are nor
presently known. Plaintiff requests the Court’s leave to amend this Complaint to
set forth the true names ad capacities of such Defendants when ascertained by _ .
Plaintiff who further alleges that each of the said Defendants and Does are
responsible in some manner for the occurrences herein alleged, and that the
damages herein alleged were proximately caused by this accident.

8. The reason why Plaintiff is ignorant of the true names and capacities

of Defendants sues herein as Does 1 through 100, inclusive, is that some have been

 

 

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unascertainable-as of the date of filing of the instant Complaint; as many of these
Does may be sheriff deputies and/or civilian employee agents, policy makers and
representatives of Defendant County of Los Angeles and/or Los Angeles County
Sheriff's Department, and as such many of their records are protected by state

statute and can only reasonably be ascertained through the discovery process.

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9. At all times relevant hereto said defendants were acting within the
scope and course of their employment as officers, sergeants, captains, lieutenants,
commanders and chiefs of police, and/or civilian employees, policy makers and
representatives of the County of Los Angeles, The Los Angeles County Sheriff’s
Department, a department and subdivision of Defendant County of Los Angeles,
and the wrongful acts hereinafter describes flow from the very exercise of their
authority. Each defendant was also acting as an employee, agent and representative
of each and every other defendant herein, and in doing the acts herein alleged were
acting with the permission, consent, ratification and authority of their co-
defendants.

(GOVERNMENT CLAIM FILED)

10. Pursuant to Government Code Sections 905 and 910, et seq., Plaintiff
timely filed her Government Claim for Damages on December 3, 2014. Said claim
was denied by the County of Los Angeles on January 20, 2015. Thus, Plaintiff
timely filed this lawsuit. Plaintiff set forth in the Government Claim language to
the effect that if the Government entity or individual were unable to ascertain the
basis or scope of the claims against them or reason to believe that they were not a
proper party then they should so notify Plaintiffs counsel. Plaintiffs counsel was
not notified by any of the Defendants that they had any issues with the
Government claims.

11. Plaintiff further alleges that Defendants, and each of them,

intentionally conspired to conceal, and did conceal, the true facts surrounding this

 

 

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incident, thereby-attempting to prevent Plaintiff from obtaining the knowledge and
information necessary to submit the instant complaint on a timely basis.

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FACTUAL ALLEGATIONS COMMON TO MORE THAN ONE CAUSE
OF ACTION
(EARL LEE JOHNSON HOUSED AT L.A. COUNTY JAIL)

12. On or about September 27, 2014, Decedent was found to be hanging
from a sheet in his cell while under the care of the LOS ANGELES COUNTY
SHERIFF’S DEPARTMENT. Decedent had a few days before, been to the
emergency room at Los Angeles County USC Medical Center where he was
treated for chest pain.

13. On or about September 23, 2014, four days before he was found
hanged, according to the Sheriff's Department, Decedent was released back to his
cell. During the time he was seeking medical care, he was alert, oriented, in no
acute distress and was found to have no behavioral risks.

14. Onor about September 27, 2014, DOES 1 through 20 (“SHERIFF
DOES”), for no justified reason and for no lawful justification, physically assaulted
and struck Decedent in the head multiple times to the point where Decedent was
unconscious. SHERIFF DOES, then in an effort to cover up the unprovoked and
malicious attack, hung Decedent in his cell with a bed sheet.

15. Asaresult of the beating and subsequent hanging, Decedent was
taken to the emergency room where he remained in critical condition until he
passed away on or about October 18, 2014. From September 27, 2014 to October
18, 2014, Decedent suffered extreme physical pain and suffering due to the actions

of Defendant Does 1 through 20.

 

16.—Fhe-actions-of the-defendants-and each-of them,-were-in-violation-of

 

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the Fourth and Fourteenth Amendments of the United States Constitution and the
actions undertaken by Defendants constituted an unjustified seizure of his person,

deprivation of his liberty interest, excessive force and were in violation of

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Decedent’s civil rights under color of law under 4 U.S.C. §1983 and other sections
of the United States Code as more fully set forth herein.

17. Plaintiff is informed and believes and thereon alleges that, Defendants
LOS ANGELES COUNTY SHERIFF’S DEPARTMENT and DOES 21 through
40, and their decision makers, with deliberate indifference, gross negligence and
reckless disregard to the safety, security, and constitutional and statutory rights of
Decedent and Plaintiff, and all persons similarly situated, maintained, enforced,
tolerated, permitted, acquiesced in, and applied policies, practices, or customs and
usages of, among other things: subjecting people to unreasonable uses of force
against their persons;

a. selecting, retaining and assigning employees with demonstrable
propensities for excessive force, violence and other misconduct;

b. failing to adequate train, supervise, and control employees in
the dangers of repeated discharge of firearms, including, without limitation, the use
of potentially lethal tactics, on individuals who may have pre-existing medical
conditions which make such tactics unreasonably dangerous;

c. failing to adequately discipline officers engaged in misconduct;

d. condoning and encouraging officers in the belief that they can _
violate the rights of persons such as Decedent in this action with impunity, and that
such conduct will not adversely affect their opportunities for promotion or other
employment benefits.

18. Plaintiff alleges that at no time was Decedent a threat to himself,

 

 

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anyone-and/or-the Sheriffs-and-causing-his-death-under-these-conditions-was
unnecessary, unreasonable, unjustified and amounts to murder.

19. Defendants, and each of them, negligently, carelessly, recklessly with
deliberate indifference and/or in any other actionable manner hired, employed,

retained, trained, supervised, assigned, controlled, and failed to adequately

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supervise, manage and discipline Sheriffs, and/or civilian employee agents, policy
makers and representatives. Including the members of the LOS ANGELES
COUNTY SHERIFF’S DEPARTMENT, even though Defendants, and each of
them, knew, or in the exercise of reasonable diligence should have known, that all
said Sheriffs had a propensity for using unnecessary, unreasonable, and/or
excessive and deadly force, and were otherwise vicious and unfit to be given
responsibilities of law enforcement Sheriffs and/or had not properly been cleared
for duty.

20. Nevertheless, Defendants, and each of them, negligently, carelessly,
and/or with wanton disregard and deliberate indifference for the public safety of an
identifiable class of victims, including claimant, employed, managed, trained and
supervised said Sheriffs, including the members of the Los Angeles County Sheriff
Department, proximately causing the severe injuries to Plaintiff.

21. The policy and procedure of the LOS ANGELES COUNTY
SHERIFF’S DEPARTMENT, as implemented and approved, by Sheriff LEROY
BACA, were a substantial factor in causing the death of Decedent. Plaintiff alleges
that the above described acts and/or omissions are part of a policy, custom and
practice of Defendants, and each of them.

22. The above-described acts and omissions were carried out by and
through Defendants’ Sheriffs, agents, servants and/or employees, including the
members of the Los Angeles County Sheriffs, agents, servants and/or employees,
including the members of the LOS ANGELES COUNTY SHERIFF

 

DEPARTMENT, who negligently,carelessly; recklessly, intentionally-and/or

 

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wantonly assaulted or caused to be assaulted, battered Decedent and/or used
excessive deadly force against him and/or allowed his death which was preventable

had the Sheriffs been adequately trained, supervised and/or managed, while in the

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course and scope of said agency, service and/or employments. Their actions and/or
omissions were the proximate cause of Decedent’s death.

23. Plaintiff is informed and believes and thereon alleges that defendants
SHERIFFS have a longstanding custom, policy and practice of violating civil
rights, including excessive use of force and other similar actions and ordered
authorized, acquiesced and tolerated, permitted or maintained custom and usages
permitting the other defendants herein to engage in the unlawful and
unconstitutional actions, policies, practices and customs or usages as set forth in
the foregoing paragraph. Defendants conduct as alleged herein constitutes a
pattern of constitutional violations based either on a deliberate plan by defendants
or on defendants’ deliberate indifference, gross negligence or reckless disregard to
the safety, security and rights of Plaintiff and the Decedent.

24. Plaintiff alleges that defendants acted in violation of the United States
Constitution and that Decedent’s constitutional rights were violated. Defendants,
and each of them, acted in violation of decedent’s constitutional rights under the
Fourth and Fourteenth Amendments to the United States Constitution. Decedent
was subjected to an excessive amount of unlawful force and defendants engaged in
affirmative conduct and caused harm to Decedent, which ultimately resulted in his
death as a result of injuries suffered in his cell by the Defendants.

25. The policy and procedure of the Los Angeles County Sheriff's
Department, as implemented and approved, by SHERIFF LEROY BACA, and the

policy and procedures of the County of Los Angeles were a substantial factor in

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causing the-death-of Decedent— Plaintiff alleges that the above described-acts
and/or omissions are part of a policy, custom and practice of Defendants, and each
of them.

26. Plaintiff further alleges that by providing facilities and security at the
men’s central jail, the officers, including members of the LOS ANGELES

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COUNTY SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA and,
personnel or others from the County of Los Angeles, Defendants LOS ANGELES
COUNTY SHERIFF’S DEPARTMENT, and the COUNTY OF LOS ANGELES
through their agents, voluntarily undertook a duty to protect Decedent. Therefore,
special relationship existed between Decedent and Defendants, which gave rise to
a duty to protect Decedent. Defendants breached that duty by the wrongful acts
described herein, including the malicious beating to the head of Decedent and
subsequent cover up of their actions by hanging Decedent in his cell after the
attack.

27. Defendants LOS ANGELES COUNTY SHERIFF’S DEPARTMENT,
SHERIFF LEROY BACA, and the COUNTY OF LOS ANGELES and their
agents, employees, supervisors and officers, negligently entrusted the security of
these incarcerated individuals to these officers, despite having advanced
knowledge that they were unfit to be placed back in the field, thereby increasing
the risk of harm to the public at large as well as an identifiable group of victims,
including the Plaintiff.

28.  Asaresult of the repeated unconstitutional actions of defendants and
each of them, EARL LEE JOHNSON died. Plaintiff has suffered and continues to
suffer devastating and overwhelming severe emotional distress, disgust, anger,
shock, fright, nervousness and terror. Plaintiff has further suffered economic and
non-economic damages. In addition, Decedent EARL LEE JOHNSON suffered
severe pain and suffering from September 27, 2014 until he died on October 18,

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2014 due to the actions of Defendants:
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FIRST CAUSE OF ACTION
VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. §1983
(By Plaintiff Against All Defendants)

29. The allegations of every other paragraph of this Complaint are hereby
incorporated by reference as if set forth in full.

30. This cause of action is to redress a deprivation, under color of
authority, statute, ordinance, regulation, policy, custom, practice or usage of a
right, privilege and immunity secured to Plaintiffs by the Fourth and Fourteenth
Amendments to the United States Constitution.

31. Defendants LOS ANGELES COUNTY SHERIFF’S DEPARTMENT,
SHERIFF LEROY BACA, and the COUNTY OF LOS ANGELES and Does 1
through 10, and each of them, owed a duty of ordinary care to avoid harm to
Decedent.

32. Plaintiff contends and herein alleges that Defendants LOS ANGELES
COUNTY SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA, and the
COUNTY OF LOS ANGELES and Does | through 10, and each of them,
breached these aforementioned duties, either negligently or intentionally, in
relation to all their interactions with Decedent on September 27, 2014, including,
but not limited to, beating Decedent almost to death and then hanging Decedent to
cover up their wrongful actions.

33. Plaintiff contends and herein alleges that the aforementioned

negligent/intentional breach of their duties by Defendant LOS ANGELES

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COUNTY SHERIFF’S DEPARTMENT and -Does-Hthrough 10; constituted
violations of the civil rights of Decedent EARL LEE JOHNSON, in contravention
of 42 U.S.C. §1983 of the Fourth and Fifteenth Amendments of the Constitution of
the United States. Plaintiff further contends and alleges that Defendant LOS
ANGELES COUNTY SHERIFF’S DEPARTMENT and Does 1 through 20

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disregard of Decedent EARL LEE JOHNSON’s aforementioned civil rights was
done by either actual malice or deliberate indifference to Decedent EARL LEE
JOHNSON’ civil rights.

34. Onor about September 27, 2014, Defendant LOS ANGELES
COUNTY SHERIFF’S DEPARTMENT and Does 1 through 20, and each of them,
violated Decedent EARL LEE JOHNSON’s civil rights under the Fourth and
Fourteenth Amendment of the United States Constitution. The violation was under
color of state and federal law. Defendant LOS ANGELES COUNTY SHERIFF’S
DEPARTMENT and Does 1 through 20, and each of them, acted in violation of
the Fourth and Fourteenth Amendments of the United States Constitution, when
Decedent EARL LEE JOHNSON was brutally beaten and then hanged, which

ultimately resulted in his death.

35. The action of Defendant LOS ANGELES COUNTY SHERIFF’S
DEPARTMENT and Does 1 through 20, and each of them, violated the Fourth and
Fourteenth Amendment of the United States Constitution and violated 42 U.S.C.
§1983. The violation of Decedent EARL LEE JOHNSON’ civil rights directly
and proximately caused the injuries and damages to Plaintiff as more fully set forth

below.
36. The failure of Defendants LOS ANGELES COUNTY SHERIFF’S

DEPARTMENT, SHERIFF LEROY BACA, and the COUNTY OF LOS
ANGELES, through their agents, voluntarily undertook a duty to protect Decedent,

therefore, a special relationship existed between Decedent and Defendants, which

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gave tise to-a-duty to protect Decedent. Defendants” breached-that duty by the
wrongful acts described herein. Defendants LOS ANGELES COUNTY
SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA, and the COUNTY OF
LOS ANGELES and their agents, employees, supervisors and officers, negligently

entrusted the security of incarcerated individuals to these officers, despite having

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advanced knowledge that they were unfit to be placed in the field, thereby
increasing their risk of harm to the public at large as well as the unidentified group
of victims including the Decedent. The actions of Defendants LOS ANGELES
COUNTY SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA, and the
COUNTY OF LOS ANGELES and their agents, employees, supervisors and
officers were in violation of Decedent EARL LEE JOHNSON’ civil rights to be
free from loss of his physical liberty, interests and denial of substantive due
process under the Fourth and Fourteenth Amendments of the United States
Constitution. In addition, in taking the aforesaid actions, Defendants LOS
ANGELES COUNTY SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA,
and the COUNTY OF LOS ANGELES and Does | through 10, and each of them,
violated Decedent EARL LEE JOHNSON’ civil rights, by being deliberately
indifferent to his physical security as set forth in Wood v. Ostrander, 879 3d 2™
583.

37. Defendants LOS ANGELES COUNTY SHERIFF’S DEPARTMENT,
SHERIFF LEROY BACA, and the COUNTY OF LOS ANGELES and Does 1
through 20, and each of their actions as set forth directly and proximately caused
injuries and damages to Plaintiff as more fully set forth below. On or about
September 27, 2015, defendants LOS ANGELES COUNTY SHERIFF’S
DEPARTMENT, SHERIFF LEROY BACA, and the COUNTY OF LOS
ANGELES and Does 1 through 20 violated Decedent EARL LEE JOHNSON’s

and Plaintiff's civil rights by using a degree a physical coercion which is not

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objectively reasonable under the circumstances. Defendants LOS ANGELES
COUNTY SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA, and the
COUNTY OF LOS ANGELES and Does 1 through 10 and their actions were the
proximate cause of the ultimate death of EARL LEE JOHNSON. The failure to
protect Decedent EARL LEE JOHNSON and the excessive use of force on EARL

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LEE JOHNSON violated Plaintiffs Fourth and Fourteenth Amendment rights.
Each of the defendants, LOS ANGELES COUNTY SHERIFF’S DEPARTMENT,
SHERIFF LEROY BACA, and the COUNTY OF LOS ANGELES and Does I
through 20, is individually liable for the violation of Decedent EARL LEE
JOHNSON’s and Plaintiffs civil rights apart from the policies and practices of the
LOS ANGELES COUNTY SHERIFF’S DEPARTMENT and the COUNTY OF
LOS ANGELES.

38. Asadirect and proximate result of the conduct of LOS ANGELES
COUNTY SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA, and the
COUNTY OF LOS ANGELES and Does 1 through 20, and each of them,
Decedent EARL LEE JOHNSON suffered the following injuries and damages for
which Plaintiff may recover:

a. Violation of Decedent EARL LEE JOHNSON’s Constitutional Rights
under the Fourth and Fourteenth Amendments to the United States Constitution to
be free from unreasonable search and seizure of his person, deprivation of life and
liberty and denial of due process of law;

b. Loss of life of EARL LEE JOHNSON including the value of his life;

C. Conscious physical pain, suffering and emotional trauma.

39. Asa direct and proximate result of the actions of defendants LOS
ANGELES COUNTY SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA,
and the COUNTY OF LOS ANGELES and Does 1 through 20, and each of them,

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d. Loss of love, aide, comfort and society due to the death of Decedent

EARL LEE JOHNSON, according proof;
e. Loss of economic support of Decedent EARL LEE JOHNSON;

f. Funeral and burial expenses according to proof; and

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COMPLAINT

 

 

 

 

 
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g. Pain and suffering of Decedent EARL LEE JOHNSON.

40. The conduct of defendants LOS ANGELES COUNTY SHERIFF’S
DEPARTMENT, SHERIFF LEROY BACA, and the COUNTY OF LOS
ANGELES and Does 1 through 20, and each of them, was reckless and acted with
callous indifference to the federally protected rights of Decedent EARL LEE
JOHNSON and Plaintiff. Defendants LOS ANGELES COUNTY SHERIFF’S
DEPARTMENT, SHERIFF LEROY BACA, and the COUNTY OF LOS
ANGELES and Does | through 20, and each of them engaged in despicable
conduct by using unreasonable and excessive force and were malicious and in
reckless and conscious disregard for the rights and individual safety of Decedent.
As such, Plaintiff is entitled to punitive damages and in accord with
constitutionally permitted limits to punish and make an example of individual
defendant officers. |

41. Plaintiff is entitled to an award of attorneys’ fees, costs and expenses
under 42 U.S.C. §1988, as a result of defendants LOS ANGELES COUNTY
SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA, and the COUNTY OF
LOS ANGELES and Does 1 through 10’s violation of Decedent EARL LEE
JOHNSON’s and Plaintiffs civil rights.

SECOND CAUSE OF ACTION
DEPRIVATION OF CIVIL RIGHTS UNDER COLOR OF LAW
(MONELL CLAIM)

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[42 USC 8§ 1983, 1985, 1986 AND 1988]
(Plaintiffs Against All Defendants)
42. The allegations of every other paragraph of this Complaint are hereby

incorporated by reference as if set forth in full.
43.  Atall times herein mentioned, Defendants LOS ANGELES

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COUNTY SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA, and the
COUNTY OF LOS ANGELES and Does 1 through 20 maintained a custom,
policy and practice to allow the violation of Civil Rights, including racial
providing of African Americans, use of excessive force upon African Americans,
failing to provide adequate security at the Men’s Central Jail, failing to provide
adequate housing conditions in the Men’s Central Jail, failing to protect Decedent
EARL LEE JOHNSON, viciously beating him and the hanging of Decedent which
ultimately led to his death. All of these actions were done in violation of
Decedent EARL LEE JOHNSON’s and Plaintiff's civil rights under Color of State
of Law and constituted a systematic custom, policy, practice and procedure
instituted for denial of the Civil Rights of Plaintiffs and others.

44. Prior to September 27, 2014, LOS ANGELES COUNTY SHERIFF’S
DEPARTMENT, SHERIFF LEROY BACA, and the COUNTY OF LOS
ANGELES and Does 1 through 20 developed and maintained policies or customs
exhibiting deliberate indifference to the Constitutional Rights of African
Americans, which caused the violation of Decedent EARL LEE JOHNSON and
Plaintiff's civil rights.

45.  Itis the policy and/or custom of LOS ANGELES COUNTY
SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA, and the COUNTY OF
LOS ANGELES and Does 1 through 20, to inadequately supervise and train their
officers and failing to’protect, monitor and provide adequate housing conditions to

inmates thereby failing to adequately discourage constitutional violations on the

 

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part of its officers.

46. Asaresult of the above described policies and/or customs, LOS
ANGELES COUNTY SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA,
and the COUNTY OF LOS ANGELES and Does 1 through 20 believed that their

actions would not be properly monitored by supervisory officers and that

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misconduct would not be investigated or sanctioned, and would be tolerated and
accepted.

47. The above-described policies or customs demonstrated a deliberate
indifference on the party of the policy makers of LOS ANGELES COUNTY
SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA, and the COUNTY OF
LOS ANGELES and Does 1 through 20 to the constitutional rights of person
within their jurisdiction, and were the cause of the violations of Decedent EARL
LEE JOHNSON and Plaintiffs’ civil rights as alleged herein.

48. Asa direct and proximate result of the conduct of LOS ANGELES
COUNTY SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA, and the
COUNTY OF LOS ANGELES and Does 1 through 20, Decedent EARL LEE
JOHNSON suffered the following injuries and damages for which Plaintiff may
recover:

a. Violation of Decedent EARL LEE JOHNSON’s Constitutional
Rights under the Fourth and Fourteenth Amendments to the United States
Constitution to be free from unreasonable search and seizure of his person,
deprivation of life and liberty and denial of due process of law;

b. Loss of life of EARL LEE JOHNSON including the value of
his life;

C. Conscious physical pain, suffering and emotional trauma; and

d. Pain and suffering for Decedent EARL LEE JOHNSON.

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49—As a direct-and proximate result of the actions of defendants LOS
ANGELES COUNTY SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA,

{|and the COUNTY OF LOS ANGELES and Does | through 20, and each of them,

Plaintiff has also suffered the following injuries, including but not limited to:

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HSe 2:15-cv-02553-ODW-AGR Document1 Filed 04/07/15 Page 17 of 20 Page ID #;

a. Loss of love, aide, comfort and society due to the death of Decedent
EARL LEE JOHNSON, according proof;
b. Loss of economic support of Decedent EARL LEE JOHNSON; and
. Funeral and burial expenses according to proof; and
d. Pain and suffering for EARL LEE JOHNSON.

50. The conduct of defendants LOS ANGELES COUNTY SHERIFF’S
DEPARTMENT, SHERIFF LEROY BACA, and the COUNTY OF LOS
ANGELES and Does | through 20, and each of them, was reckless and acted with
callous indifference to the federally protected rights of EARL LEE JOHNSON and
Plaintiff. Defendants LOS ANGELES COUNTY SHERIFF’S DEPARTMENT,
SHERIFF LEROY BACA, and the COUNTY OF LOS ANGELES and Does 1
through 20, and each of them engaged in despicable conduct by using unreasonable
and excessive force and were malicious and in reckless and conscious disregard for
the rights and individual safety of Decedent. Furthermore, the actions of
defendants in the subsequent cover up is similarly despicable. As such, Plaintiff is
entitled to punitive damages and in accord with constitutionally permitted limits to
punish and make an example of individual defendant officers.

51.  Plaintiffis entitled to an award of attorneys’ fees, costs and expenses
under 42 U.S.C. §1988, as a result of defendants LOS ANGELES COUNTY
SHERIFF’S DEPARTMENT, SHERIFF LEROY BACA, and the COUNTY OF
LOS ANGELES and Does 1 through 20’s violation of Decedent EARL LEE

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WHEREFORE, Plaintiff prays for judgment against Defendants, and each of

them, for each cause of action, as follows:

1. For all general, special and punitive damages for an amount in excess
of $25 million;
2. For all special damages, including, but not limited to, lost wages and

future earning capacity;

3. For all general damages including, but not limited to, damages for
pain, suffering, anguish, discomfort, severe emotional distress, disgust, terror,
fright, anger, anxiety, worry, nervousness, shock, anguish and mental suffering,
loss of enjoyment of life, loss of ability to engage in normal and customary
activities, loss of comfort, society, care and companionship;

4, For the physical pain and suffering of Decedent EARL LEE
JOHNSON from September 27, 2014 to October 18, 2014;

5. For other and further special damages in a sum according to proof at
the time of trial;

6. For other and further general damages in a sum according to proof at

the time of trial;

7. For funeral and burial expenses, according to proof;
8. For prejudgment interest according to proof;
9. For punitive damages against all defendants involved in the hanging

death of EARL LEE JOHNSON and subsequent cover up and Does | through 20;

10. For costs of suit incurred herein;

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14.— For other-and-further relief-asthis-courtmay-deem-just-and proper;
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12. For legal fees, expenses and costs incurred in prosecution in the

present action for violation of Civil Rights pursuant to 42 U.S.C. section 1988.

Dated: April 2015

ORLAND LAW GROUP

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James J. Orlqnd

Jeffrey J, Olin

Attorneys for AVEAN EDWARDS,
individually and as a Personal
Representative of Earl Lee Johnson

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DEMAND FOR JURY TRIAL

Plaintiff hereby demand a jury trial in the instant action on all states causes

of action.

Dated: April‘, 2015

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James J. Orland
Jeffrey J. Olin
Attomeyg for AVEAN EDWARDS,

individually and as a Personal
Representative of Earl Lee Johnson

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